               Case 2:08-cr-00417-MCE Document 76 Filed 02/08/11 Page 1 of 4


1    MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
2
     Sacramento, CA 95814
3    (916) 447-1920
     Mike.Long.Law@msn.com
4
     Attorney for MIGUEL ZEPEDA-LOPEZ
5

6                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-417 MCE
8
                     Plaintiff,       )
9
                                      ) STIPULATION AND
           v.                         ) ORDER TO CONTINUE MOTION TO
10                                    ) SUPPRESS EVIDENCE
     FERNANDO MURGUIA-OCHOA,          )
11   MIGUEL ZEPEDA-LOPEZ,             )
12
     JOSE ANGUIANO,                   )
     MARIO SARRANO-ABURO, and         )
13   JOSHUA ORTEGA,                   ) Date: 3-17-11
                     Defendants.      ) Time: 9:00 a.m.
14   ================================) Judge: Hon. Morrison C. England
15
            It is hereby stipulated between the parties, Jason Hitt, Assistant United States Attorneys,
16
     Danny Brace, attorney for defendant FERNANDO MURGUIA-OCHOA, Douglas Beevers,
17

18
     attorney for defendant JOSE ANGUIANO, Thomas Johnson, attorney for defendant MARIO

19   SARRANO-ABURO, Dan Koukol, attorney for defendant JOSHUA ORTEGA and Michael Long,

20   attorney for MIGUEL ZEPEDA-LOPEZ, that the motion to suppress hearing date of February 10,
21
     2011, should be continued until March 17, 2011. The continuance is necessary because the
22
     government filed its opposition brief on February 2, 2011 and the defendants need time to review
23
     the brief and determine if one or more defendants will file a reply brief to the government’s
24

25   opposition brief.

26          Any defense reply briefs will be filed on or before March 10, 2011.
27

28




                                                    -1-
              Case 2:08-cr-00417-MCE Document 76 Filed 02/08/11 Page 2 of 4


1           IT IS STIPULATED that the period of time from the signing of this Order up to and
2
     including the new motion to suppress hearing date of March 17, 2011, be excluded in computing the
3
     time within which trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §
4
     3161(h)(7)(B)(iv) and Local Code T4, for ongoing preparation of counsel and pursuant to 18 U.S.C.
5

6    § 3161(h)(1)(D) and Local Code E, as the motion to suppress is still pending.

7

8
     Dated: February 3, 2011                               Respectfully submitted,
9
                                                           /s/ Michael D. Long___
10                                                         MICHAEL D. LONG
                                                           Attorney for ZEPEDA-LOPEZ
11

12
     Dated: February 3, 2011                               /s/ Dan Brace _____ .
                                                           DAN BRACE
13                                                         Attorney for MURGUIA-OCHOA
14   Dated: February 3, 2011                               /s/ Douglas Beevers __
15
                                                           DOUGLAS BEEVERS
                                                           Attorney for ANGUIANO
16
     Dated: February 3, 2011                               /s/ Thomas Johnson __
17                                                         THOMAS JOHNSON
18
                                                           Attorney for ORTEGA

19   Dated: February 3, 2011                               /s/ Dan Koukol _____ .
                                                           DAN KOUKOL
20                                                         Attorney for SARRANO-ABURTO
21
     Dated: February 3, 2011                               BENJAMIN WAGNER
22                                                         United States Attorney

23                                                         /s/ Jason Hitt____
                                                           JASON HITT
24
                                                           Assistant U.S. Attorney
25
                                                           /s/ Todd Leras____
26                                                         TODD LERAS
                                                           Assistant U.S. Attorney
27

28




                                                    -2-
               Case 2:08-cr-00417-MCE Document 76 Filed 02/08/11 Page 3 of 4


1    MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
2
     Sacramento, CA 95814
3    (916) 447-1920
     Mike.Long.Law@msn.com
4
                              IN THE UNITED STATES DISTRICT COURT
5
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
6
     THE UNITED STATES OF AMERICA,    ) No. CR-S-08-417 MCE
7                    Plaintiff,       )
                                      ) ORDER
8
           v.                         )
9
                                      )
     FERNANDO MURGUIA-OCHOA,          )
10   MIGUEL ZEPEDA-LOPEZ,             )
     JOSE ANGUIANO,                   )
11   MARIO SARRANO-ABURO, and         )
12
     JOSHUA ORTEGA,                   ) Date: 3-17-11
                     Defendants.      ) Time: 9:00 a.m.
13   ================================) Judge: Hon. Morrison C. England
14           UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
15   motion to suppress hearing date presently set for February 10, 2011, at 9:00 a.m. be continued to
16   March 17, 2011, at 9:00 a.m. The government’s opposition brief will be filed by January 20, 2011.
17   Any defense reply briefs will be filed by March 10, 2011. Based on the representations of counsel
18   and good cause appearing therefrom, the Court hereby finds that the failure to grant a continuance in
19   this case would deny defense counsel reasonable time necessary for effective preparation, taking
20   into account due diligence. The continuance outweighs the best interests of the public and the
21   defendants to a speedy trial.
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///


                                                     -3-
              Case 2:08-cr-00417-MCE Document 76 Filed 02/08/11 Page 4 of 4


1
     It is ordered that time from this date to March 17, 2011, shall be excluded from computation of the
2
     time within which the trial of this matter must be commenced under the Speedy Trial Act pursuant
3
     to 18 U.S.C. § 3161(h)(7) (B)(iv) and Local Code T4, to allow counsel time to prepare and 18
4
     U.S.C. § 3161(h)(1)(D) and Local Code E as the motion to suppress evidence is still pending.
5
     DATED: February 8, 2011
6

7                                             __________________________________
                                              MORRISON C. ENGLAND, JR
8                                             UNITED STATES DISTRICT JUDGE
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                    -4-
